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                United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________


No. 22-5328                                                 September Term, 2023
                                                                         1:22-cv-01372-JEB
                                                     Filed On: October 31, 2023 [2024640]
Attorney General of the United States,

              Appellant

      v.

Stephen A. Wynn,

              Appellee

                                         ORDER

        It is ORDERED, on the court's own motion, that the following times are allotted
for the oral argument of this case scheduled for November 14, 2023, at 9:30 A.M.:

                    Appellant                    -                 10 Minutes

                    Appellee                     -                 10 Minutes

        One counsel per side to argue. The panel considering this case will consist of
Circuit Judges Henderson, Millett, and Pillard.

      Form 72, which may be accessed through the link on this order, must be
completed and returned to the Clerk's Office by November 2, 2023.

                                       Per Curiam

                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk

                                                 BY:      /s/
                                                          Michael C. McGrail
                                                          Deputy Clerk

The following forms and notices are available on the Court's website:

      Notification to the Court from Attorney Intending to Present Argument (Form 72)
